
Simon, J.
delivered the opinion of the court.
This is a suit on a promissory note of hand. The defendant declined [564] the jurisdiction of the lower court, on the ground that his domicil and principal establishment are in the parish of Oarroll and not in the parish of Orleans, and that he ought to have been sued in the ninth judicial district court for the parish of Oarroll. This declinatory exception was overruled, and the defendants having answered to the merits by pleading the general issue, there was judgment against Mm, from which he appealed.
The contest in this case being the same with that in the case of Williams v. Henderson, lately decided by this court (Ante, 557), as to the question of domicil; both counsel have agreed to submit it without argument, referring us to the testimony taken on the exception in the said case of Williams v. Henderson, to be applied to the declinatory exception in this suit. This is the same evidence on which the question of jurisdiction was submitted to the court below; it ought to be governed by the same principles and reasoning, and our conclusion must consequently be the same.
It is therefore ordered, adjudged and decreed, that the judgment of the district court be annulled, avoided and reversed; that the declinatory exception filed by the defendant be sustained, and that'this suit be dismissed; the plaintiff and appellee paying the costs in both courts.
